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                     UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MASSACHUSETTS

____________________________________
                                      )
In Re:                                )
                                      )              Chapter 7
Debra L. Feldman                      )              Case No. 16-13432-MSH
                                      )
               Debtor                 )
____________________________________)
                                      )
John O. Desmond, as Chapter 7 Trustee )
of the estate of Debra L. Feldman     )
                                      )
               Plaintiff              )
                                      )              Adv. Pro. No.
v.                                    )
                                      )
                                      )
Debra L. Feldman                      )
                                      )
               Defendant              )
____________________________________)


                                     COMPLAINT

                           INTRODUCTORY STATEMENT

    1. This is an action brought by John O. Desmond, in his capacity as Chapter 7

Trustee, to deny the discharge of the debtor, Debra L Feldman, pursuant to 11 U.S.C. §§

727(a)(2)(A), 727(a)(2)(B) and 727(a)(4)(A).

                                        PARTIES

    2. The plaintiff is John O. Desmond in his capacity as Chapter 7 Trustee for the

estate of Debra L. Feldman (“Trustee”). The Trustee was appointed on September 5,

2016 and has standing to bring this action on behalf of the estate pursuant to 11 U.S.C. §

727(c)(1).




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    3. The defendant is Debra L. Feldman (“Debtor”), an individual believed to be

residing at 13 Aurora Lane, Salem, MA and the voluntary debtor in related chapter 7 case

of 16-13432-MSH.

                            JURISDICTION AND VENUE

    4. This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157 and 1334. This adversary proceeding is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(J).

    5. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                               STATEMENT OF FACTS

    A. Background

    6. Between approximately 2002 and 2014, the Debtor was employed by H&R Block

Eastern Enterprises, Inc. (“H&R Block”) on a seasonal basis in order to provide tax

preparation and related services.

    7. The Debtor also works as a fabric engineer. On information and belief, the

Debtor operates a business for this purpose.

    8. In connection with her employment with H&R Block, the Debtor signed a “Tax

Professional Employment Agreement.” This agreement contained a non-compete

provision that prohibited the Debtor from providing tax related services to any H&R

Block client for two years after the termination of her employment with H&R Block.

    9. In January 2015, the Debtor created Your Tax Resource, Inc. and/or Your Tax

Resource, LLC (“Your Tax Resource”), in order to provide tax preparation and related

services.

    10. The Debtor, through Your Tax Resource, provided tax-related services to former

clients of H&R Block in violation of her employment agreement.

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    11. On April 8, 2015 H&R Block filed suit against the Debtor in the Essex Superior

Court, case no. 1577 CV 00545, alleging violations of the non-compete provision of the

employment agreement.

    12. On April 28, 2015, the Debtor agreed to the entry of a Stipulated Preliminary

Injunction Order prohibiting the Debtor from providing tax-related services to certain

clients of H&R Block.

    13. On February 1, 2016, H&R Block served the Debtor with a demand for arbitration

pursuant to the employment agreement, alleging breach of contract, misappropriation of

property, confidential information, and trade secrets, tortious interference with

advantageous business relationships, and unjust enrichment. Shortly thereafter, H&R

Block filed a motion to stay litigation in the Superior Court in order to proceed with

arbitration. The motion to stay litigation was allowed on March 9, 2016.

    14. On August 16, 2016, the arbitrator heard arguments on summary disposition

motions filed both by H&R Block and the Debtor.

    15. On August 30, 2016, the arbitrator issued a partial final award (“Partial Final

Award”) in favor of H&R Block, awarding damages, attorney’s fees, and injunctive

relief.

    16. As described in more detail below, during the pendency of the H&R Block action

and within the one year prior to the case filing, the Debtor transferred all of her non-

exempt assets, worth approximately $459,145.63, to her mother and her brother for little

or no consideration.

    17. Three days after the arbitrator entered the Partial Final Award, on September 2,

2016, the Debtor filed a voluntary petition for relief under chapter 7 of the United States

Bankruptcy Code.

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    18. On information and belief, the Debtor mistakenly believed that by filing a

bankruptcy, she could be discharged of her obligation to comply with the injunctive relief

awarded to H&R Block.

    19. When the Debtor realized her mistake, she sought to dismiss her bankruptcy case.

The Debtor’s motion to dismiss was denied by this Court on May 10, 2017.

    20. The Debtor’s behavior pre- and post-petition reveals her intent to hinder, delay or

defraud her creditors by transferring all of her non-exempt property to family members,

filing for chapter 7 bankruptcy, and attempting to discharge her legal and equitable

obligations to H&R Block.

    B. Pre-Petition and Post-Petition Transfers

    I. 16 C Street, Conway, New Hampshire

    21. In March 2007, the Debtor purchased property located at 16 C Street, Conway,

New Hampshire 03818 (“NH Property”). The NH Property is a vacation home and is not

used as a primary residence. See deed recorded at Carroll County Registry of Deeds on

March 23, 2007 at Book 2613, Page 0800, attached as Exhibit 1.

    22. In December 2011, the Debtor transferred the NH Property from herself to herself

and her brother, David Feldman (“Mr. Feldman”), as joint tenants with rights of

survivorship. See deed recorded at Carroll County Registry of Deeds on December 22,

2011 at Book 2968, Page 780 attached as Exhibit 2.

    23. In July 2016, the Debtor and Mr. Feldman transferred the NH Property “for

consideration paid” from themselves as joint tenants with rights of survivorship, to the

Debtor’s mother, Roberta Newell (“Ms. Newell”), and Mr. Feldman as joint tenants with

rights of survivorship (“NH Real Estate Transfer”). See quitclaim deed recorded at




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Carroll County Registry of Deeds on July 5, 2016 at Book 3270, Page 420 attached as

Exhibit 3.

    24. Prior to the NH Real Estate Transfer, there was a first mortgage on the NH

Property granted by the Debtor and Mr. Feldman with an approximate balance owed of

$77,000.00.

    25. Shortly before and in anticipation of the NH Real Estate Transfer, the Debtor

obtained a line of credit, secured by a mortgage on her primary residence, and used the

line of credit, inter alia, to completely satisfy the outstanding mortgage on the NH

Property. See Debtor’s Objection to the Motion to Extend Time to Object to Discharge,

¶¶ 2(c)-(d), Docket No. 79, attached as Exhibit 4.

    26. On information and belief, the NH Property was worth at least $125,000.00 at the

time of the NH Real Estate Transfer.

    27. The Debtor has alleged that the NH Real Estate Transfer was made on account of

a debt she owed to Ms. Newell.

    28. The Debtor did not receive reasonably equivalent value for the transfer.

    29. The Debtor has retained a key and access to the NH Property.

    30. On information and belief, the Debtor transferred the NH Property with the actual

intent to hinder, delay or defraud her creditors.

    31. The Trustee has filed a complaint to avoid the NH Real Estate Transfer as a

fraudulent and/or preferential transfer. See, Desmond v. Newell, et al., Adversary

Proceeding No. 17-01043.

    II. Ameriprise Account

    32. Prior to 2010, the Debtor was the owner of an investment account administered by

Ameriprise Financial (“Ameriprise Account”).

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    33. In or about 2010, the Debtor transferred the Ameriprise Account from herself

individually to herself, Ms. Newell, and Mr. Feldman as joint tenants.

    34. The 2010 transfer was allegedly in consideration for Ms. Newell agreeing to

provide on-going financial support to the Debtor and Mr. Feldman agreeing to provide a

lifetime of IT services and computer technical support.

    35. Ms. Newell and Mr. Feldman have never contributed to the Ameriprise Account

nor have they ever withdrawn funds from the Ameriprise Account.

    36. In April 2016, the Debtor transferred her interest in the Ameriprise Account to

Ms. Newell and Mr. Feldman (“Ameriprise Transfer”). At the time of the Ameriprise

Transfer, the value of the account was approximately $139,936.90.

    37. The Ameriprise Transfer was allegedly in consideration for Ms. Newell paying

the Debtor’s law school tuition and living expenses and Mr. Feldman providing a lifetime

of IT services and computer technical support.

    38. On information and belief, the Debtor transferred the Ameriprise Account with

the actual intent to hinder, delay or defraud her creditors.

    39. The Trustee has filed a complaint to avoid the Ameriprise Transfer as a fraudulent

and/or preferential transfer. See, Desmond v. Newell, et al., Adversary Proceeding No.

17-01043.

    III. 250 Hammond Pond Parkway, Unit 1101-N, Chestnut Hill, Massachusetts

    40. In May 2016, the Debtor acquired a one-half remainder man interest in the

property at 250 Hammond Pond Parkway, Unit 1101-N, Chestnut Hill, Massachusetts

(“MA Property”) subject to the reservation of a life estate by the grantor, Ms. Newell.

See deed recorded at Middlesex South Registry of Deeds on May 18, 2016 at Book

67271, Page 26, attached as Exhibit 5.

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    41. By deed dated August 19, 2016, two days after the oral arguments on the

summary disposition motions in the H&R Block action and two weeks before the Debtor

commenced her bankruptcy case, the Debtor transferred her interest in the MA Property

back to Ms. Newell for $1.00 (“MA Real Estate Transfer”).

    42. On September 12, 2016, ten days after the Debtor had commenced her bankruptcy

case, the transfer deed was recorded. See deed recorded at the Middlesex South Registry

of Deeds at Book 67995, Page 54, attached as Exhibit 6.

    43. On information and belief, the Debtor or her agent caused the MA Property

transfer deed to be recorded.

    44. On information and belief, at the time of the transfer the MA Property was worth

at least $700,000.00.

    45. On information and belief, there are no liens on the MA Property.

    46. The Debtor has alleged that the MA Real Estate Transfer occurred pursuant to an

oral trust of which the Debtor was a trustee. See Exhibit 4, ¶¶ 5, 17-20.

    47. On information and belief, the Debtor transferred the MA Property with the actual

intent to hinder, delay or defraud her creditors.

    48. The Trustee has filed a complaint to avoid the MA Real Estate Transfer as a

fraudulent transfer or pursuant to his strong-arm powers. See, Desmond v. Newell, et al.,

Adversary Proceeding No. 17-01043.

    IV. Known and Unknown Preferential Transfers

    49. In June 2016, the Debtor obtained a home equity loan from Century Bank and

Trust Company (“Century Bank”). See mortgage granted by Debtor to Century Bank on

June 11, 2016 and recorded at the Essex South Registry of Deeds, on June 16, 2016 at

Book 35007, Page 235, attached as Exhibit 7.

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    50. The Debtor has stated that “Debtor’s intent in taking the [Century Bank] loan was

to significantly decrease her monthly obligations. Debtor, in fact, paid off all but one

creditor – TD Auto Finance, who still holds the loan on the Debtor’s vehicle.” See

Exhibit 4, ¶ 5(d).

    51. On information and belief, the Debtor used the funds from the Century Bank loan

to pay off an existing mortgage on the NH Property.

    52. On information and belief and based on the Debtor’s statement referenced above,

the Debtor used the funds to pay off other creditors as well.

    53. Given that the mortgage securing the Century Bank loan was executed on June

16, 2016, it can be inferred that these payments were made within the 90 days prior to the

Debtor’s case filing.

    54. At her § 341 meetings, the Debtor testified that the NH Real Estate Transfer and

the Ameriprise Transfer were made on account of obligations the Debtor owed Ms.

Newell and Mr. Feldman.

C. Debtor’s Schedules and Statement of Financial Affairs

    55. On September 9, 2016, the Debtor filed, inter alia, her schedules A-J and

statement of financial affairs.

    56. Schedule A/B at line 1 asks a debtor, “Do you own or have any legal or equitable

interest in any residence, building, land, or similar property?”

    57. In response to line 1, the Debtor did not disclose any legal or equitable interest in

the MA Property. See Line 1 of Debtor’s schedule A/B attached as Exhibit 8.

    58. Schedule A/B part 4 asks a debtor “Do you own or have a legal or equitable

interest in any of the following?” Under line 25, a debtor is asked for information




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pertaining to “Trusts, equitable or future interests in property (other than anything listed

in line 1), and rights and powers exercisable for your benefit.”

    59. In response to line 25, the Debtor checked the box “No” and did not disclose the

alleged interest in an oral trust pertaining to the MA Property. See Line 25 of Exhibit 8.

    60. The statement of financial affairs (“SOFA”) at line 6 asks a debtor, inter alia,

“During the 90 days before you filed for bankruptcy, did you pay any creditor a total of

$600.00 or more?”

    61. In response to the question at line 6, the Debtor did not disclose the approximately

$77,000.00 payment made to satisfy the mortgage on the NH Property or payments to any

other of the creditor she alleges to have paid off in June 2016. See Line 6 of Debtor’s

SOFA attached as Exhibit 9.

    62. The SOFA at line 7 asks a debtor, “Within 1 year before you filed for

bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

Insiders include relatives….”

    63. In response to the question at line 7, the Debtor checked the box “No” and did not

disclose the NH Real Estate Transfer or the Ameriprise Transfer. See Line 7 of Exhibit 9.

    64. The SOFA at line 8 asks a debtor, “Within 1 year before you filed for bankruptcy,

did you make any payments or transfer any property on account of a debt that benefited

an insider? Include payments on debts guaranteed or cosigned by an insider.”

    65. In response to the question at line 8, the Debtor checked the box “No” and did not

include the payment of the mortgage on the NH Property, for which her brother Mr.

Feldman was a co-obligor. See Line 8 of Exhibit 9.




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    66. The SOFA at line 18 asks a debtor, “Within 2 years before you filed for

bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than

property transferred in the ordinary course of your business or financial affairs?”

    67. In response to the question at line 18, the Debtor disclosed the NH Real Estate

Transfer stating that the transfer of her 50% interest in the NH Property took place in

2015 and was to her mother “in consideration of Mother paying living expenses and

tuition of Debtor to attend law school.” See Line 18 of Exhibit 9.

    68. The Debtor did not disclose the Ameriprise Transfer on her SOFA.

    69. The Debtor did not disclose the MA Real Estate Transfer on her SOFA.

    70. The SOFA at line 23 asks a debtor, “Do you hold or control any property that

someone else owns? Include any property you borrowed from, are storing for, or hold in

trust for someone.”

    71. In response to the question at line 23, the Debtor checked the box “No” and did

not disclose the alleged oral trust with her mother, Ms. Newell. See line 23 of Exhibit 9.

    72. The SOFA at line 27 asks a debtor, “Within 4 years before you filed for

bankruptcy, did you own a business or have any of the following connections to any

businesses?”

    73. In response to the question at line 27, the Debtor checked the box “No” and did

not disclose her interest in Your Tax Resource or in any sole proprietorship as a fabric

engineer. See Line 27 of Exhibit 9.

    74. The Debtor signed her schedules and SOFA under the penalty of perjury.

    75. The Debtor has not amended her schedules or SOFA.




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                                   CAUSES OF ACTION

             COUNT I: Denial of Discharge under 11 U.S.C. § 727(a)(2)(A)

    76. The Trustee repeats and realleges the allegations contained in Paragraphs 1

through 75 as if separately set forth herein.

    77. The Debtor effectuated the NH Transfer, the Ameriprise Transfer, and the MA

Transfer within one year before the date of the filing of the petition with the intent to

hinder, delay or defraud a creditor or an officer of the estate.

    78. Therefore, the Debtor’s discharge should be denied pursuant to § 727(a)(2)(A).


             COUNT II: Denial of Discharge under 11 U.S.C. § 727(a)(2)(B)

    79. The Trustee repeats and realleges the allegations contained in Paragraphs 1

through 78 as if separately set forth herein.

    80. The Debtor perfected the MA Real Estate Transfer after the date of the filing of

the petition.

    81. The MA Real Estate Transfer was made with the intent to hinder, delay or defraud

a creditor or an officer of the estate.

    82. Therefore, the Debtor’s discharge should be denied pursuant to § 727(a)(2)(B).


             COUNT III: Denial of Discharge under 11 U.S.C. § 727(a)(4)(A)

    83. The Trustee repeats and realleges the allegations contained in Paragraphs 1

through 82 as if separately set forth herein.

    84. In her schedules and statement of financial affairs, which were signed under the

penalties of perjury, the Debtor failed to disclose:

        a.      the Ameriprise Transfer;

        b.      the MA Real Estate Transfer;

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       c.        any interest she had at the time of the case filing in the MA Property;

       d.        any interest she had at the time of the case filing in the purported oral

             trust with Ms. Newell;

       e.        the preferential payment of the mortgage on the NH Property;

       f.        the fact that the payment of the mortgage on the NH Property benefited

             Mr. Feldman, an insider;

       g.        the alleged preferential payment of debts to Ms. Newell and Mr. Feldman

             through the NH Transfer and Ameriprise Transfer;

       h.        on her SOFA, her interest in Your Tax Resource;

       i.        on her schedules and SOFA, her interest in a sole proprietorship as a fabric

             engineer.

      85. Therefore, the Debtor’s discharge should be denied pursuant to § 727(a)(4)(A)

                                  PRAYER FOR RELIEF

            WHEREFORE, the Trustee requests that this Court enter an order denying the

Debtor’s discharge pursuant to §§ 727(a)(2)(A) (Count I); 727(a)(2)(B) (Count II); and/or

727(a)(4)(A) (Count III) and for such further relief as it deems just. 	

                                               Respectfully submitted,
                                               John O. Desmond, Ch. 7 Trustee of the
                                               estate of Debra L. Feldman
                                               By his attorney,

                                               /s/ Kate E. Nicholson
                                               Kate E. Nicholson (BBO# 674842)
                                               Nicholson Herrick LLP
                                               21 Bishop Allen Dr.
                                               Cambridge, MA 02139
                                               (857) 600-0508
                                               knicholson@nicholsonherrick.com
Dated: July 7, 2017




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 Fill in this information to identify your case:

 Debtor 1                  Debra L Feldman
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number            16-13432
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                              Wages, commissions,                       $30,000.00           Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income                Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.            (before deductions
                                                                                    exclusions)                                                     and exclusions)

 For the calendar year before that:                   Wages, commissions,                       $36,629.00           Wages, commissions,
 (January 1 to December 31, 2014 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income                Gross income
                                                   Describe below.                  each source                    Describe below.                  (before deductions
                                                                                    (before deductions and                                          and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Century Bank                                             7/1, 8/1, 9/1,                  $2,300.00          $78,000.00              Mortgage
       399 Mystic Ave                                                                                                                      Car
       Medford, MA 02155
                                                                                                                                           Credit Card
                                                                                                                                           Loan Repayment
                                                                                                                                           Suppliers or vendors
                                                                                                                                           Other




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       H&R Blck v. Debra Feldman                                Contract dispute            Salem Superior Court                        Pending
       15-545A                                                                              56 Federal Street                           On appeal
                                                                                            Salem, MA 01970
                                                                                                                                        Concluded


       Feldman v. Rhimes et al                                  Copyright                   1st Ciruit of Appeal                        Pending
       15-1130                                                  Infringement                                                            On appeal
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes


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 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.
       Car accident                                         Settled with BI Carrier April 2015 for net to                     May 6 2014                      $0.00
                                                            debtor 7943.08


 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Dropkin & Matza LLP                                           Attorney Fees                                            September 2,              $4,500.00
       424 Broadway                                                                                                           2016
       Somerville, MA 02145
       mdropkin@dropkinmatza.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you
       Roberta Newall                                                16C Street, Conway New                     Debtor transfered her          2015
       250 Hammond Pond Parkway                                      Hampshire                                  50% interest of property
       Chestnut Hill, MA 02467                                                                                  to Roberta Newall,
                                                                                                                Debtors mother in
       Mother                                                                                                   consideration of Mother
                                                                                                                paying living expenses
                                                                                                                and tuition of Debtor to
                                                                                                                attend law school


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       AmeriaFinancial                                          XXXX-                         Checking                  Septemeber 1st                 $2,200.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                             Other paid
                                                                                           mortgage


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)




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22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                         have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Debra L Feldman
 Debra L Feldman                                                         Signature of Debtor 2
 Signature of Debtor 1

 Date      September 9, 2016                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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